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                                  MAGISTRATE JUDGE'S MINUTES
                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF ARIZONA – TUCSON
U.S. Magistrate Judge: Leslie A. Bowman          Date: November 9, 2022
USA v. Brian Tackett                             Case Number: CR-22-00462-002-TUC-JGZ (LAB)

Assistant U.S. Attorney: Micah Schmit
Attorney for Defendant: Francisco Leon, CJA
Interpreter: N/A
Defendant: ☒ Present ☒ Custody

PRETRIAL STATUS CONFERENCE:
-This case was filed on: 3/16/2022
-The plea deadline is: 12/2/2022
-Trial is scheduled for: 12/20/2022
-The trial date has been continued 4 times- Another motion to continue trial and plea
 deadline is anticipated. Defense counsel is newly appointed and needs additional time
 to review disclosure.
-Regarding discovery: Deadline is 10/27/2022. Additional time is needed
-Regarding pretrial motions: Deadline is 11/10/2022
-Regarding the possibility of a non-trial disposition: Not discussed
-No issues reported.



Recorded By Courtsmart                                                          SC     05 min
Deputy Clerk Susana Barraza                                                     Start: 10:46 AM
                                                                                Stop: 10:51 AM
